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                      IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

 RU-EL SAILOR,

        Plaintiff,                             Case No. 1:20-cv-00660

 -vs-                                          Judge David A. Ruiz

 CITY OF CLEVELAND, et al.,

        Defendants.                            PLAINTIFF’S REPLY IN SUPPORT
                                               OF MOTION TO STAY




        Plaintiff, through counsel, submits this reply in support of his Motion to Stay

this case for six months to permit Plaintiff the opportunity to retain new counsel.

(Dkt. 82).

        Defendants have filed their Opposition (Dkt. 89) to Plaintiff’s Motion to Stay

the case (Dkt. 82). The opposition presents arguments related to Defendants’

earlier-filed Motion for Dismissal (Dkt. 88).

        On July 26, 2024, Plaintiff filed a Motion to Stay briefing and deadlines

associated with Defendants’ Motion for Dismissal (Dkt. 90), asking the Court to

delay those deadlines until (a) after the resolution of the Motion to Withdraw (Dkt.

82); (b) after Plaintiff is able to obtain new counsel; and (c) after new counsel are

afforded reasonable time to respond to Defendants’ Motion.




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      Because counsel’s Motion to Withdraw (Dkt. 82) and Plaintiff’s Motion to

Stay Briefing and Deadlines (Dkt. 90) remain pending, and because Defendants’

opposition to the Motion to Stay the case for six months is related to their Motion

for Dismissal (Dkt. 88), Plaintiff respectfully requests that the Court grant the

Motion to Stay the case so that Plaintiff may retain new counsel and to allow new

counsel the opportunity to respond to the factual and legal issues raised in

Defendants’ Motion and Opposition. Should the Court require additional

information, Counsel ask that an ex parte status conference be scheduled.

                                        Respectfully submitted,

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                           CERTIFICATE OF SERVICE

       I hereby certify that on August 1, 2024, a copy of the foregoing was filed
electronically. Notice of this filing will be sent to all registered parties by operation
of the Court’s electronic filing system. Parties may access this filing through the
Court’s system.
                                          /s/Jacqueline Greene
                                          One of the Attorneys for Plaintiff




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